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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-1114-GW-KKx                                                  Date    March 27, 2023
 Title             Julie Barfuss, et al. v. Live Nation Entertainment, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            Terri A. Hourigan
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present by Telephone for
                                                                                 Defendants:
                 Dennis B. Hill, by telephone                                 Timothy L. O’Mara
                       John M. Genga                                          Kirsten M. Ferguson
                     Jennifer A. Kinder                                       Robin L. Gushman
                    Griffint T. McMillin
 PROCEEDINGS:                SCHEDULING CONFERENCE


Court and counsel confer. For reasons stated on the record, the scheduling conference is continued to
May 25, 2023 at 8:30 a.m. Plaintiffs are to supply certain information to Defendants by March 31, 2023.
Plaintiffs are to respond re additional discovery by May 18, 2023. A stipulation if the parties are in
agreement is to be filed by May 22, 2023, or if no agreement, the parties are to file their positions by
May 22.




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                                                                 Initials of Preparer    JG
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